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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

 NELSON REINA HURTADO,
      Petitioner.

                                                                        Case No. 8:07-cv-405-T-17 MSS
                                                                                 8:04-cr-243-T-17 MSS
 UNITED STATES OF AMERICA,
      Respondent.

                        ORDER DENYING MOTION TO VACATE,
            SET ASIDE. OR CORRECT SENTENCE, PURSUANT TO 28 U.S.C. d 2255

          This case is before the Court on Nelson Reina Hurtado's Motion to Vacate, Set Aside, or

 Correct Se~itencepursuant to 28 U.S.C. $ 2255. Doc. 1; Cr. Doc. 288.' The Government filed a

 Response. Doc. 4. Hurtado filed a reply. Doc. 5. A review of the record demonstrates that, for

 the following reasons, the motion to vacate must be denied.

                                          PROCEDURAL I-IISTORY

          On November 2, 2004, Hurtado pled guilty, without a plea agreement, to aiding and

 abetting in the possession with intent to distribute 5 kilograms or more of cocaine while aboard a

 vessel subject to the jurisdiction of the United States, in violation of 46 App. U.S.C. 1903(a)

 and (g) and 21 U.S.C. §960(b)(l)(B)(ii) (Count One); and coi~spiracyto possess with intent to

 distribute five kilograms or more of cocaine while aboard a vessel subject to the jurisdiction of

 the United States, in violation of 46 App. U.S.C. 5 1903(a), 1903(g) and 1903Cj) and 21 U.S.C. $

 960(b)(l)(B)(ii) (Count Two). Cr. Doc. 97, 158.

          The district court sentenced Hurlado to 135 months i~lipriso~mient
                                                                          as to each of counts


                              ~ case arc indicated by "Doc." followed by the number of that document. Citations to
           'citations to t l civil
  the criminal case are indicated by "Cr. Doc." followed by the number of that document.
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 One and Two to run concuirently, with credit for time served. Cr. Doc. 158. Murtado timely filed

 a notice of appeal challen,hg the failure to grant minor role reduction. Cr. Doc. 275. On

 December 17,2006, the Eleventh Circuit Court of Appeals affirmed I-Iurtado's sentence, finding

 that the district court properly denied a minor role departure. Cr. Doc. 275.

        On March 3,2007, Hurtado filed the present 28 U.S.C. 5 2255 motion to vacate, set

 aside, or correct his sentence. In the section 2255 motion, Hurtado asserted that his sentence

 violates of the Fifth Amendment and the Due Process Clause by virtue of the 'LConstructive"

 Amendment of the Indictment. Doc. 1 at 5a-6a. Further, H ~ ~ r t a dasserts
                                                                      o      the Court lacked

 jurisdiction because the statutes under which he was convicted are an "Ultra Vires" exercise of

 congressional power. Doc. 1 at 6a. Additionally, Hurtado claims ineffective assistance of

 counsel at plea, sentencing, and appeal. Doc. 1 at 8 and 1la-12a.

                                   FACTUAL BACKGROUND

        In May 2004, the United States Coast Guard observed the Estrella del Sur refuel and re-

 provision a small "go-fast" boat in the Pacific Ocean off Costa Rica. Doc. 4 at 2. Both the

 Estrclla del Dur and the "go-fast" boat fled upon discovery. Doc. 4 at 2. The Coast Guard

 observed the crew on the "go-fast" boat dump approximately thirty bales into the Pacific Ocean.

 Doc. 4 at 3. The Coast Guard recovered one of these bales which contained approximately

 twenty kilograms of cocaine. Doc. 4 at 3. The Coast Guard and the government estimated the

 "go-fast" boat to be transporting at least 600 kilograms of cocaine. Doc. 4 at 3. The Coast

 Guard also pursued and arrested the crew of the Estrella del Sur, including Hurtado. Doc. 4 at 3.

        On November 2,2004, Hurtado pleaded guilty to Count One and Count Two of the

 Indictment during a Change of Plea Hearing. Cr. Doc. 263. During this hearing, the Court
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 addressed the charges with Hurtado including the elements of the offenses, the penalties, and the

 factual basis necessary to prove the charges. Cr. Doc. 263 at 18-33.

         The probation office reconmended that the district court apply the federal sentencing

 guidelines to Hurtado based on at least 150 kilograms of cocaine. Doc. 4 at 3. Hurtado's counsel

 ojected to the base offense level, the drug quantity, and Hurtado's role in the offense. Doc. 4 at

 3. At sentencing, Hurtado's counsel incorporated by reference the arguments made by Hurtado's

 co-defendants as to minor role, base offense level, and drug quantity. Cr. Doc. 223. The Court

 overruled the minor role objection, the offense level objection, and the drug quantity objections.

 Cr. Doc. 223. The court noted in overruling these objections that the government likely had been

 "conservative in their estimate of how much cocaine was involved here." Cr. Doc. 223

                                           DISCUSSION

         Hurtado challenges his sentence on three grounds. Doc. 1. First, Hurtado claims the

  Court altered the Indictment by imposing a sentence that does not correspond to the charge

 thereby violating the Fifth Amendment and Due Process Clause. Doc. 1. Second, Hurtado

 claims the Maritime Drug Law Enforcement Act (MDLEA) is unconstitutional. Doc. 1. Finally,

 Hurtado claims he received ineffective assistance of counsel at plea, sentencing, and on appeal.

 Doc. 1.

                         Fifth Ameitd~izenturrd Due Process CIause C l u i ~ ~

         Hurtado claims that since the offense does not correspond to the original charges, his plea

 was involuntary. Doc. 1. Collateral review pursuant to 28 U.S.C. 5 2255 is not a substitute for a

  direct appeal. Bttrke v. Uttited States, 152 F.3d 1329 (1 lth Cir. 1998). Nonconstitutional claims

 can be raised on collateral review only when the error constitutes a "fimdamental defect which
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 inherently results in a complete nliscarriage of justice.. ." Reed v. Furley, 5 12 U.S. 339 at 348

 (1994).

           Once a conviction based on a guilty plea has become final, a petitioner may challenge

 only the knowing or voluntary nature of the plea, unless the record demonstrates the district court

 lacked the power the enter the conviction or impose the sentence. United States v. Bruce, 488

 U.S. 563 (1989).

           Case law shows a strong presumption that a voluntary and intelligent plea of guilty made

 by an accused person, who has been advised by competent counsel may not be collaterally

 attacked. M a b y v. Johnson, 467 U S . 504 (1 984). Further, a petitioner is barred fiom raising a

 challenge to the factual basis of his plea in a section 2255 motion. Wilso~lv. United States. 962

 F.2d 996 (1 1th Cir. 1992).

           Hurtado is challenging the amount of drugs to which he was held accountable at

 sentencing. Doc. 1. It is true that Hurtado was charged with possession with intent to distribute

 five kilograms or more of cocaine, and held accountable for at least 150 kilograms of cocaine.

 Cr. Doc. 223. During the sentencing process, Hurtado admitted he understood the charges he

 was pleading to and the penalties they carried. Cr. Doc. 263 at 18-19. Hurtado admitted he

 understood the consequences of the plea and the right he was giving up. Id. at 23-25.

 Additionally, he agreed to the government's factual basis of the charges. Id. at 28.

           Nothing in the record indicates that Hurtado's plea was involuntary. He knowingly and

 freely admitted guilt to possession of more than five kilograms of cocaine. Therefore, Hurtado

 has not shown a "fundamental defect which inherently results in a completc miscarriage of

 justice." Reed, 512 U.S. at 348.
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                                 U~icoitstitzttiotiulityof the MDLEA

        Hurtado claims the Maritime Drugs Law Enforceinent Act is unconstitutional as an "Ultra

 Vires" exercise of congressional power. Doc. 1. Notwithstanding other defects in this assertion,

 the constitutionality of the MDLEA has been well settled by the Eleventh Circuit, notably in

 Uiiited States v. Estupinnn, 453 F.3d 1336 (1 1th Cir. 2006). Estupittut~is a case nearly identical

 to Hurtado's. In Estupinnn, the Coast Guard observed an Ecuadorian vessel and saw the crew

 throwing bales of cocaine over the side of the vessel when they realized they had been seen. The

 Coast Guard recovered the cocaine, and the crew of the vessel were charged with possession of

 cocaine in excess of five kilograms.

         The United States Court of Appeals for the Eleventh Circuit found that drug trafficking

 aboard vessels is a serious international problem and presents a specific tlreat to the security and

 well being of the United States. Estupiilat~.453 F.3d 1336 at 1338 (citing United States v.

 Rerzdon, 354 F.3d 1320 (1 I th Cir. 2003)). The MDLEA is a constitutional provision enacted by

 congress within its powers conferred by the constitution. Therefore, Hurtado cannot be granted

 relief on a claim of unconstitutionality of the MDLEA because the claim lacks merit. U.S. v.

 Tinoco, 304 F.3d lo88 (1 1th Cir. 2003).

                                  Itzefective Assistcuice of Comsel

        Hurtado last claims he had ineffective assistance of counsel during sentencing and appeal.

 Doc. 1 at 6. He bases his argument on his counsel's decision not to file a petition for certiorari in

 the United States Supreme Court; counsel's failure to investigate facts surrounding the case;

 counsel's lack of diligence; counsel's inadequate preparation; and "work product mental

 process." Doc. 1.
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        A lawyer is presumed to be conlpetent to assist a defendant and the burden is on the

 defendant to demonstrate that his lawyer has been ineffective. United Stares 11. Crot~ic,466 US.

 648,658 (1984). A conviction will be vacated on ineffective assistance of counsel grounds if the

 defendant can prove (1) that counsel's performance fell below an objective standard of

 reasonable professional assistance, and (2) the delendant was prejudiced by the deficient

 performance. Stricklami v. Washington, 466 U.S. 668, 687, 694 (1984). A defendant is required

 to prove both prongs of the Strickland test and a failure to prove one will result in a rejection of

 the claim. Id. at 697.

        A counsel's performance is deficient if, given all the circumstances, his performance falls

 outside of accepted professional conduct. Stricklad, 466 U.S. at 690. "Judicial scrutiny of

 counsel's performance must be highly deferential," and "co~~nsel
                                                               cannot be adjudged

 incompetent for performing in a particular way in a case, as long as the approach taken 'might be

 considered sound trial strategy." Cliandler v. United States, 2 18 F.3d 1305, 1313-14 (1 1111 Cir.

 2000)(quoting Strickland, 466 U.S. at 689 and Darden v. Waitiwight, 477 U.S. 168, 186 (1986)).

 Where a record is incomplete or unclear, counsel's actions are presumed to be an exercise of

 reasonable professional judgment. Chandler, 2 18 F.3d at 1314-135 11. 15.

        Hurtado fails to prove that his counsel's performance was deficient. Hurtado's counsel is

 permitted to advance his case based upon reasonable legal strategy. Hurtado does not offer any

 factual or legal bases for these claims. H~urtado'scounsel raised objectiolis to the base offense

 level, the dmg amount, and Hurtado's role in the offense. Doc. 4 at 3. At sentencing, Hurtado's

 counsel incorporated by reference all the arguments made by Hurtado's co-defendants as to the
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 niinor role, base offense level, and drug quantity. Cr. Doc. 223. Even giving wide deference to

 a pro se petitioner, I-Iurtado has failed to show any basis for ineffective counscl.

         Hurtado has also failed to show prejudice. Therefore, Hurtado cannot be granted relief on

 a claim of ineffective assistance of counsel because the claim lacks merit.

                                           Evide~lriaryHeariilg

         Hurtado has the burden of establishing the need for an evidentiary hearing, see Bil? v.

 Montgomeq), 725 F.2d 587, 591 (1 lth Cir. 1984) (en banc), and he would be entitled to a hearing

 only if his allegations, if proved, would establish his right to collateral relief, see Towwend v.

 Sain, 372 U.S. 293, 307 (1963). Under rules governing section 2255 cases, rule 4(b), a district

 court faced with a section 2255 motion may make an order for its summary disn~issal"[ilf it

 plainly appears for the face of the motion and any annexed exhibits and the prior proceedings in

 the case that thc movant is not entitled to reliefl.]" Bro~l~lwrcter
                                                                   v. U~iitedStcrtes, 292 F.3d 1302,

  1303 (1 1th Cir. 2002) (quoting 28 U.S.C. foll. 2255). Accordingly, no hearing is required

 when the record establishes that a section 2255 claim lacks merit, see Uuited States v. Lugrone,

 727 F.2d 1037. 1038 (1 1th Cir. 1984), or that it is defaulted see McCleskey v. Zmt, 499 U.S. 467,

 494 (1991).

         Hurtado has not established any basis for an evidentiary hearing because the issues he

 raises are not cognizable and is based on faulty legal reasoning.

         Having considered Hurtado's arguments, the Court orders:

         That Nelson Reina Hurtado's Motion to Vacate, Set Aside, or Correct Sentence pursuant

 to 28 U.S.C. $ 2255 (Doc. 1 Cr. Doc. 288) is denied. The Clerk is directed to enter judgement in

  the civil case and to close that case.
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                          CERTIFICATE OF APPEALABILITY AND
                      LEAVE TO APPEAL IN FORMA PAUPEFUS DENIED

         IT IS FURTHER ORDERED that Defendant is not entitled to a certificate of

  appealability. A prisoner seeking a writ of habeas corpus has no absolute entitlement to appeal a

  district court's denial of petition. 28 U.S.C. 5 2253(c)(l). Rather, a district court must first issue

  a certificate of appealability (COA). Id. "A COA may issue ...only if the applicant has made a

  substantial showing of the denial of a constitutional right." Id. at 5 2253(c)(2). To make such a

  showing, Defendant "must demonstrate that reasonable jurists could find the district court's

  assessment of the constitutional claims debatable or wrong." Teirtrard v. Dretke, 542 U.S. 274,

  282 (2004)(quoting Slcrck v. McDuiriel, 529 U.S. 473,484 (2000)) or that "the issues presented

  were 'adequate to deserve encouragement to proceed hrthcr,"' Miller-El v. Cockrell, 537 U S .

  322, 335-36 (2003)(quoting Bcirefoor v. Estelle, 463 U.S. 880, 893 11. 4 (1 983)). Defendant has

  not nude the requisite showing in these circumstances.

         Finally, because Defendant is not entitled to a certificate of appealability, he is not

  entitled to appeal in forma pauperis.

         ORDERED in chambers at Tampa, Florida on this          hy
                                                                 of November, 2007.




  AUSA: Stephen Muldrow
  Pro se: els son Reina Hurtado
